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United States Court of Appeals

For THE DISTRICT OF COLUMBIA CIRCUIT

No. 23-3001 September Term, 2023
1:22-sc-02144-BAH
Filed On: November 29, 2023

In re: Sealed Case,

BEFORE: Henderson, Katsas, and Rao, Circuit Judges
ORDER

Upon consideration of the motion filed by the Reporters Committee for Freedom of
the Press to unseal judicial records, the responses thereto, and the reply; the court's
September 5, 2023 order, denying the motion to unseal judicial records with respect to
the ex parte supplement to appellant’s brief, otherwise deferring consideration of the
motion, and ordering the parties to show cause why the remaining sealed portions of the
record in this case should not be unsealed; and the parties’ joint response filed October
6, 2023, itis

ORDERED that the order to show cause be discharged. It is

FURTHER ORDERED that the motion to unseal judicial records be granted in part
and denied in part. Itis

FURTHER ORDERED that appellant's ex parte supplement to the motion to stay,
filed January 5, 2023, appellant’s ex parte supplement to appellant’s brief, filed February
6, 2023, and the parties’ joint response to the order to show cause, filed October 6, 2023,
remain under seal. It is

FURTHER ORDERED that the following records
, be unsealed tn part:

i Exhibits 1 and 2 to motion for a stay pending appeal, filed by appellant on
January 5, 2023 [No. 1980240];

2 Response in opposition to motion to stay case, filed by appellee on January
9, 2023 [No. 1980731] ;

3 Response in opposition to motion to unseal, filed by appellee on January
27, 2023 [No. 1983596];

4. Reply to response, filed by appellant on January 27, 2023 [No. 1983646];

5 Motion for leave to file surreply, filed by appellee on January 27, 2023 [No.
1983653];

6 Surreply, lodged by appellee on January 27, 2023 [No. 1983655];

fs Letter, filed by appellee on January 30, 2023 [No. 1984170];

8. Letter, filed by appellee on February 1, 2023 [No. 1984149]:

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. Appellant Brief, filed on February 6, 2023 [No. 1984738];
0. Joint Appendix (“JA”), filed by appellant on February 6, 2023 [No. 1984749];
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11. | Supplement to response regarding motion to unseal, filed by appellee on
February 10, 2023 [No. 1985554];

12. Appellee Brief, filed on February 16, 2023 [No. 1986276]; and

13. Notice of a decision by the U.S. District Court, filed by appellee on February
27, 2023 [No. 1987855].

It is
FURTHER ORDERED that, within 15 days of the date of this order, the parties

jointly file a response to this order on the public docket with redacted versions of the
above-listed records attached. The records should be redacted as follows:

The Clerk is directed to maintain the sealed, unredacted versions of these records under
seal. Itis

FURTHER ORDERED that the transcript and audio recording of the sealed portion
of oral argument be unsealed. The Clerk is directed to make the audio recording of the
sealed oral argument publicly available on the court's website. It is

FURTHER ORDERED that the remaining sealed records in this case, excepting
order, be unsealed in their entirety. The Clerk is directed to docket the unsealed records
on the public docket. The Clerk is further directed to docket a redacted version of this
order on the public docket.

Per Curiam
FOR THE COURT:
Mark J. Langer, Clerk
BY: /s/

Daniel J. Reidy
Deputy Clerk
